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                                   6                                 UNITED STATES DISTRICT COURT

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                                                                    NORTHERN DISTRICT OF CALIFORNIA
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                                  10    SONOS, INC.,
                                  11                   Plaintiff,                           No. C 20-06754 WHA

                                  12            v.
Northern District of California
 United States District Court




                                  13    GOOGLE LLC,                                         ORDER RE MOTIONS FOR
                                                                                            SUMMARY JUDGMENT
                                  14                   Defendant.

                                  15

                                  16                                         INTRODUCTION

                                  17         With trial looming in this patent infringement action, both sides again move for summary

                                  18    judgment. Alleged infringer now moves for summary judgment of invalidity and no willful or

                                  19    indirect infringement of the three remaining patents, as well as non-infringement of two of

                                  20    those patents based on a purported design-around. Meanwhile, patent owner now moves for

                                  21    summary judgment on alleged infringer’s contract-based claims. For the following reasons,

                                  22    alleged infringer’s motion is GRANTED IN PART, DENIED IN PART, and DEFERRED IN PART,

                                  23    whereas patent owner’s motion is DENIED AS MOOT.

                                  24                                           STATEMENT

                                  25         The relevant facts are described at length elsewhere. See Sonos, Inc. v. Google LLC,

                                  26    591 F. Supp. 3d 638, 641 (N.D. Cal. 2022), leave to appeal denied, 2022 WL 1486359 (Fed.

                                  27    Cir. May 11, 2022). In brief, we have two related civil actions involving Sonos, Inc.’s patents

                                  28    and Google LLC’s alleged infringement: Google’s declaratory judgment action filed in the
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                                   1    Northern District of California, and Sonos’s affirmative infringement action filed (one day

                                   2    before) in the Western District of Texas and transferred (one year later) at the direction of the

                                   3    Federal Circuit (No. C 21-07559 WHA).

                                   4         The operative pleadings focus on U.S. Patent Nos. 9,967,615; 10,779,033; 10,848,885;

                                   5    and 10,469,966. These patents generally concern multi-room “smart” speaker technology.

                                   6    Whereas the ’615 and ’033 patents cover technology related to transferring playback between

                                   7    devices, i.e., “casting,” the ’885 and ’966 patents cover technology related to managing groups

                                   8    of smart speakers.

                                   9         Pursuant to “patent showdown” procedure, each side has already moved for summary

                                  10    judgment on a single claim. Separate orders granted summary judgment in favor of Google on

                                  11    invalidity of claim 13 of the ’615 patent and in favor of Sonos on infringement of claim 1 of

                                  12    the ’885 patent. Sonos has since withdrawn its remaining claims based on the ’615 patent, and
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                                  13    Google has since begun developing and deploying a purported design-around for the ’885 and

                                  14    ’966 patents. Claims and defenses related to the ’033, ’885, and ’966 patents are now set for

                                  15    trial starting May 8, 2023 (SAC ¶¶ 49–84; see also No. C 21-07559 WHA, TAC ¶¶ 134–233).

                                  16    So are Google’s claims for breach of contract and conversion, which are based on prior

                                  17    collaborations with Sonos (SAC ¶¶ 85–97).

                                  18         In the lead-up to trial, both parties have filed motions to strike portions of each other’s

                                  19    expert reports (Dkt. Nos. 464, 469), as well as new motions for summary judgment (Dkt. Nos.

                                  20    478, 483). Sonos also filed a renewed motion to realign the parties (Dkt. No. 477), which the

                                  21    undersigned granted at the hearing after Google withdrew its opposition (Dkt. No. 557). A

                                  22    companion order considered the motions to strike (Dkt. No. 565). This order considers the

                                  23    motions for summary judgment.

                                  24         Google moves for summary judgment of invalidity of the asserted claims of the ’033,

                                  25    ’885, and ’966 patents; no willful or indirect infringement of the asserted claims of the ’033,

                                  26    ’885, and ’966 patents; and non-infringement of the asserted claims of the ’885 and ’966

                                  27    patents based on a purported design-around. Sonos moves for summary judgment on Google’s

                                  28    breach of contract and conversion claims. This order follows full briefing and oral argument.
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                                   1                                              ANALYSIS

                                   2          Under Rule 56 of the Federal Rules of Civil Procedure, summary judgment is proper

                                   3    when there is no genuine dispute of material fact and the movant is entitled to judgment as a

                                   4    matter of law. A dispute of material fact is genuine “if the evidence is such that a reasonable

                                   5    jury could return a verdict for the nonmoving party.” Anderson v. Liberty Lobby, Inc.,

                                   6    477 U.S. 242, 248 (1986). In deciding a motion for summary judgment, the district court must

                                   7    accept the non-movant’s non-conclusory evidence and draw all justifiable inferences in the

                                   8    non-movant’s favor. Id. at 255.

                                   9          1.      GOOGLE’S MOTION: INVALIDITY OF THE ’033 PATENT.
                                  10          Let’s begin with the ’033 patent. Our analysis of the ’033 patent (“Systems and Methods

                                  11    for Networked Music Playback”) starts with our earlier analysis of the ’615 patent

                                  12    (“Networked Music Playback”) during the patent showdown. Google LLC v. Sonos, Inc.,
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                                  13    2022 WL 3046752 (N.D. Cal. Aug. 2, 2022). They have identical specifications. Like the

                                  14    ’615 patent, the ’033 patent is directed toward the act of transferring playback of media content

                                  15    from one device (e.g., a phone) to another (e.g., a television), an act Google calls “casting.”

                                  16    And, like claim 13 of the ’615 patent covered in the prior order, the asserted claims of the ’033

                                  17    patent covered here are directed toward transferring playback of a queue of media content

                                  18    (e.g., a video playlist).

                                  19          This order refers the reader to the prior order for a more in-depth introduction to cast

                                  20    technology and the accused applications, which include YouTube, YouTube Kids, YouTube

                                  21    TV, YouTube Music, and Google Play Music. Suffice to say, YouTube was and remains

                                  22    owned by Google, and the accused applications employ technology that enables a “control

                                  23    device” to transfer playback of a queue of media content to a Google cast-enabled “playback

                                  24    device,” wherein the control device controls the application and the playback device plays the

                                  25    content. By way of example, a user can activate a feature on the accused YouTube application

                                  26    to cast a video playlist (queue of media content) from a phone (control device) to a television

                                  27    (playback device). The analysis of the ’615 patent in the prior order, and the analysis of the

                                  28    ’033 patent in this order, hinge on the queue of media content that is cast. Because both parties
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                                   1    find support in the prior order’s analysis of non-infringement and invalidity, this order will

                                   2    provide a summary.

                                   3         First, the prior order found Google’s accused products did not infringe claim 13 of the

                                   4    ’615 patent because they did not employ a “local playback queue on the particular playback

                                   5    device,” as required by limitation 13.5 (’615 patent 20:8–9). That order construed “playback

                                   6    queue” as “a list of multimedia content selected for playback.” It then determined that the

                                   7    information in the accused applications that was stored locally on Google cast-enabled

                                   8    playback devices to play casted content (i.e., last, current, and next media item) was not a

                                   9    playback queue. Rather, that information was a subset of the list of multimedia content

                                  10    selected for playback and merely provided the local means to process it. For the accused

                                  11    products, the list of multimedia content selected for playback was stored on a remote cloud

                                  12    server. The parties and the prior order referred to it as a “cloud queue,” and all agreed that it
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                                  13    was not a local playback queue because it was not stored locally on a playback device in the

                                  14    accused applications. The parties only disputed whether the information received by a Google

                                  15    cast-enabled playback device from the cloud queue was itself a local playback queue. The

                                  16    prior order found it was not. “In short, the cloud queue r[an] the show.” Google, 2022 WL

                                  17    3046752, at *6; see generally id. at *3–6.

                                  18         Second, that order found claim 13 of the ’615 patent invalid over prior art. Specifically,

                                  19    it determined that Google’s YouTube Remote application anticipated claim 13 of the ’615

                                  20    patent for all but one limitation. This was limitation 13.4, which required “selection of [a]

                                  21    particular playback device” (’615 patent 19:61–67). But the prior order nevertheless

                                  22    concluded it would have been obvious to combine the YouTube Remote application with

                                  23    disclosures in a Google patent to allow for such selection (U.S. Patent No. 9,490,998). Note

                                  24    that the order did not discuss the local playback queue from limitation 13.5 in the context of

                                  25    invalidity; it only discussed it in the context of non-infringement, as set out above. By

                                  26    implication, however, the prior order found the YouTube Remote application employed a local

                                  27    playback queue because it found the YouTube Remote application disclosed limitation 13.5.

                                  28    Google, 2022 WL 3046752, at *6–10.
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                                   1         Whereas claim 13 of the ’615 patent recited a “local playback queue on the particular

                                   2    playback device,” the corresponding claims of the ’033 patent recite a “remote playback queue

                                   3    provided by a cloud-based computing system.” The parties agree that this is the central

                                   4    distinction between the two patents, but they disagree on the significance of this distinction.

                                   5                 A.      NO JUDICIAL ESTOPPEL.
                                   6         As a threshold matter, this order will consider (and reject) Sonos’s argument that Google

                                   7    is judicially estopped from asserting the YouTube Remote prior art disclosed the ’033 patent’s

                                   8    remote playback queue. According to Sonos, Google previously represented that the YouTube

                                   9    Remote system “used a local playback queue, and further argued that there can only be one

                                  10    playback queue in a system” (Sonos Opp. 2) (emphasis in original). It insists that the

                                  11    undersigned relied on these representations in finding claim 13 of the ’615 patent invalid.

                                  12    According to Google, however, neither it nor the undersigned ever suggested that there could
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                                  13    only be one playback queue in the YouTube Remote system (Google Reply Br. 1–3). This

                                  14    order agrees with Google.

                                  15         “[W]here a party assumes a certain position in a legal proceeding, and succeeds in

                                  16    maintaining that position, he may not thereafter, simply because his interests have changed,

                                  17    assume a contrary position, especially if it be to prejudice the party who has acquiesced in the

                                  18    position formerly taken by him.” New Hampshire v. Maine, 532 U.S. 742, 749 (2001) (citation

                                  19    omitted). Google has not assumed a contrary position here. The language Sonos seizes upon

                                  20    from Google’s prior motion for summary judgment stated:

                                  21                 [T]he YouTube Remote prior art product is a direct ancestor of the
                                                     YouTube product Sonos accuses of infringement . . . . The key
                                  22                 difference is that where the accused YouTube applications use . . .
                                                     a cloud queue, the prior art YouTube Remote used . . . a local
                                  23                 queue.
                                  24    (Sonos Opp. 2 (quoting Google Showdown Br. 2)) (emphasis omitted). Just because the

                                  25    accused applications use a cloud queue where the YouTube Remote prior art used a local

                                  26    queue does not mean that the YouTube Remote prior art could not also use a remote playback

                                  27    queue. Google’s expert expressly rejected that position in his patent showdown rebuttal report,

                                  28    observing “[a] system might store the playback queue both at the local playback device and
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                                   1    remotely,” but “[t]his [was] not the case with the accused products” (Bhattacharjee Showdown

                                   2    Rebuttal Rpt. ¶ 320) (emphasis added). Google’s expert did not rule out this possibility for the

                                   3    prior art.

                                   4          Neither did the prior order, which stated:

                                   5                 Sonos objects that multiple playback queues can exist
                                                     simultaneously (Opp. 8). In support, Sonos points out that the
                                   6                 specification teaches that there can be “two-way communication”
                                                     between the local playback queue and a separate queue, “such as
                                   7                 keeping a local playback queue synchronized with a queue that the
                                                     user is editing/managing in the third party application” (’615
                                   8                 patent at 16:22–31). But there is no such “two-way
                                                     communication” here. Rather, the cloud queue delivers
                                   9                 information to the playback device on a one-way street. The cloud
                                                     queue provides information about the queue . . . and never vice-
                                  10                 versa, because there is no locally-stored queue that would allow
                                                     “two-way” synchronization.
                                  11

                                  12    Google, 2022 WL 3046752, at *6. In other words, that order only found the “two-way”
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                                  13    playback queue of one embodiment did not exist in the accused products. It never concluded

                                  14    that multiple playback queues could not exist simultaneously or could not have existed

                                  15    simultaneously in the prior art.

                                  16          Moreover, Google now argues that a feature in YouTube Remote version 2 (“YTR2”)

                                  17    disclosed a remote playback queue, whereas it was YouTube Remote version 1 (“YTR1”) that

                                  18    disclosed a local playback queue previously. This alone suggests that the prior order should

                                  19    not foreclose an invalidity analysis here. Whereas YTR1 was released on November 9, 2010,

                                  20    YTR2.03 and YTR2.07 were released on July 29, 2011, and August 10, 2011, respectively.

                                  21    The ’033 patent application claims priority through a chain of applications dating back to

                                  22    December 30, 2011. Because the YTR2 system was released prior to the ’033 patent priority

                                  23    date and could invalidate the asserted claims, this order proceeds to analysis of those claims.

                                  24                 B.      OVERVIEW OF ASSERTED CLAIMS.
                                  25          Sonos asserts claims 1–2, 4, 9, 11–13, and 16 of the ’033 patent. Claims 1 and 12 are

                                  26    independent claims, and claims 2, 4, 9, 11, 13, and 16 are dependent claims. Whereas claim 1

                                  27    is directed to a “computing device” (corresponding to a control device discussed above), claim

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                                   1    12 is directed to a “computer-readable medium” (with instructions for that control device).

                                   2    Both parties focus their analysis on claim 1.

                                   3         Using Google’s paragraph numbering, claim 1 of the ’033 patent recites:

                                   4                 [1.0] A computing device comprising:
                                   5                 [1.1] at least one processor;
                                   6                 [1.2] a non-transitory computer-readable medium; and
                                   7                 [1.3] program instructions stored on the non-transitory computer-
                                                     readable medium that, when executed by the at least one processor,
                                   8                 cause the computing device to perform functions comprising:
                                   9                         [1.4] operating in a first mode in which the computing
                                                             device is configured for playback of a remote playback
                                  10                         queue provided by a cloud-based computing system
                                                             associated with a cloud-based media service;
                                  11
                                                             [1.5] while operating in the first mode, displaying a
                                  12                         representation of one or more playback devices in a media
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                                                             playback system that are each i) communicatively coupled
                                  13                         to the computing device over a data network and ii)
                                                             available to accept playback responsibility for the remote
                                  14                         playback queue;
                                  15                         [1.6] while displaying the representation of the one or more
                                                             playback devices, receiving user input indicating a
                                  16                         selection of at least one given playback device from the one
                                                             or more playback devices;
                                  17
                                                             [1.7] based on receiving the user input,
                                  18
                                                                    [1.7(a)] transmitting an instruction for the at least
                                  19                                one given playback device to take over
                                                                    responsibility for playback of the remote playback
                                  20                                queue from the computing device,
                                  21                                [1.7(b)] wherein the instruction configures the at
                                                                    least one given playback device to (i) communicate
                                  22                                with the cloud-based computing system in order to
                                                                    obtain data identifying a next one or more media
                                  23                                items that are in the remote playback queue, (ii) use
                                                                    the obtained data to retrieve at least one media item
                                  24                                in the remote playback queue from the cloud-based
                                                                    media service; and (iii) play back the retrieved at
                                  25                                least one media item;
                                  26                         [1.8] detecting an indication that playback responsibility for
                                                             the remote playback queue has been successfully
                                  27                         transferred from the computing device to the at least one
                                                             given playback device; and
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                                                                [1.9] after detecting the indication, transitioning from i) the
                                   1                            first mode in which the computing device is configured for
                                                                playback of the remote playback queue to ii) a second
                                   2                            mode in which the computing device is configured to
                                                                control the at least one given playback device’s playback of
                                   3                            the remote playback queue and the computing device is no
                                                                longer configured for playback of the remote playback
                                   4                            queue.
                                   5       (’033 patent 17:32–18:10). Recall the parties agree that the primary difference between invalid

                                   6       claim 13 of the ’615 patent and the asserted claims of the ’033 patent is that the former recited

                                   7       a local playback queue and the latter recite a remote playback queue, italicized above.

                                   8            Google now argues that claim 1 of the ’033 patent and the other asserted claims are

                                   9       invalid as obvious over two prior art references: (1) Google’s YTR2 system, which disclosed a

                                  10       remote playback queue on account of its “party mode” feature; and (2) Google’s ’998 patent,

                                  11       which (again) taught the selection of playback devices (Google Br. 5–15). Sonos contends that

                                  12       these prior art references did not satisfy limitations 1.4–1.9 of the ’033 patent (Sonos Opp. 3–
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                                  13       10). According to Sonos, the YTR2 system did not disclose a remote playback queue, as

                                  14       required by limitations 1.4, 1.7, 1.8, and 1.9, whereas the ’998 patent did not teach the

                                  15       selection of playback devices, as required by limitations 1.5 and 1.6.1

                                  16            A claimed invention is obvious if “the differences between the subject matter sought to

                                  17       be patented and the prior art are such that the subject matter as a whole would have been

                                  18       obvious at the time the invention was made to a person having ordinary skill in the art.”

                                  19       35 U.S.C. § 103(a) (pre-AIA). Obviousness is a question of law based on underlying questions

                                  20       of fact. ABT Sys., LLC v. Emerson Elec. Co., 797 F.3d 1350, 1354 (Fed. Cir. 2015). Unlike

                                  21       anticipation, which “requires all elements of a claim to be disclosed within a single reference,”

                                  22       “[o]bviousness can be proven by combining existing prior art references.” Cohesive Techs.

                                  23       Inc. v. Waters Corp., 543 F.3d 1351, 1364 (Fed. Cir. 2008). “A party seeking to invalidate a

                                  24       patent based on obviousness must demonstrate by clear and convincing evidence that a skilled

                                  25       artisan would have been motivated to combine the teachings of the prior art references to

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                                       1
                                  27     Google also argues that the YouTube Remote prior art disclosed a remote playback queue when
                                       a YTR1 or YTR2 user selected a list of service-recommended videos for playback (Google Br. 9–
                                  28   11). Because this order finds that YTR2 party mode disclosed a remote playback queue, however,
                                       it does not reach this argument.
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                                   1    achieve the claimed invention, and that the skilled artisan would have had a reasonable

                                   2    expectation of success in doing so.” Procter & Gamble Co. v. Teva Pharms. USA, Inc.,

                                   3    566 F.3d 989, 994 (Fed. Cir. 2009) (internal quotation marks and citation omitted). The first

                                   4    step in an obviousness analysis is proper construction of the claim to determine its scope and

                                   5    meaning, and the second step is comparison of the properly construed claim to the prior art.

                                   6    Medichem, S.A. v. Rolabo, S.L., 353 F.3d 928, 933 (Fed. Cir. 2003).

                                   7         Here, the parties agree on the construction of the central claim term: a “remote playback

                                   8    queue” is a “playback queue,” as construed in the prior order, that is also “remote” (Dkt. Nos.

                                   9    560–61). And, they interpret “remote” almost identically. Sonos explains that “the term

                                  10    ‘remote’ refers to a location different from (i.e., not local to) the ‘computing device’ or the

                                  11    ‘playback device,’” whereas Google proposes it means “geographically distant from the

                                  12    claimed computing and playback devices” (compare Dkt. No. 560 at 2, with Dkt. No. 561 at 1).
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                                  13    For the purpose of evaluating movant Google’s invalidity arguments, this order adopts non-

                                  14    movant Sonos’s phrasing and construes “remote” as “not local to the claimed computing

                                  15    device or playback device.” As such, a “remote playback queue” is a “playback queue” that is

                                  16    “not local to the claimed computing device or playback device.” Applying the construction of

                                  17    “playback queue” from the prior order, a “remote playback queue” is “a list of multimedia

                                  18    content selected for playback that is not local to the claimed computing device or playback

                                  19    device.”

                                  20         With this agreed-upon construction, does claim 1 of the ’033 patent read on the prior art?

                                  21    For the reasons that follow, this order concludes that it does.

                                  22                 C.      OVERVIEW OF PRIOR ART.
                                  23         Let’s start with the prior art. The YouTube Remote application allowed a user to display

                                  24    YouTube videos on one or more screens (e.g., televisions) and control playback of those

                                  25    YouTube videos from one or more mobile devices (e.g., phone and tablet). First released in

                                  26    November 2010 and later discontinued, it functioned like casting, but the YouTube Remote

                                  27    application required a user to separately navigate to an intermediary website on each of the

                                  28    devices and log in to the same YouTube account to pair them.
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                                   1          Party mode was a feature that Google developed after releasing YTR1, reducing it to

                                   2     practice on July 12, 2011, and releasing it in YTR2. Whereas YTR1 allowed for one user to

                                   3     manage a queue of YouTube videos and transfer playback from one or more mobile devices to

                                   4     one or more screens, YTR2 party mode allowed for two or more users to manage a queue of

                                   5     YouTube videos and transfer playback from two or more mobile devices to one or more

                                   6     screens. To reiterate, YTR2 predated the ’033 patent priority date of December 30, 2011, with

                                   7     YTR2.03 and YTR2.07 released on July 29, 2011, and August 10, 2011, respectively.

                                   8          To initiate party mode, a host user would select a queue of YouTube videos for playback

                                   9     on a mobile device running YTR2 and invite one or more guest users with a mobile device

                                  10     running YTR2. If the guest user(s) accepted the host user’s invitation, the host user’s mobile

                                  11     device would send a message to a cloud server (called the “MDx server”) with the list of

                                  12     identifiers for the queue of videos selected for playback (called “videoIds”). The cloud server
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                                  13     would store this list of identifiers in the “party queue” and then send a message with the list of

                                  14     identifiers to the mobile device(s) of the guest user(s), where it would be stored locally

                                  15     (Bhattacharjee Rpt. ¶¶ 171–75; Schmidt Rebuttal Rpt. ¶¶ 207–08).

                                  16          In party mode, the host user and guest user(s) managed the same queue of videos, which

                                  17     was stored in the party queue on the cloud server and on each of their mobile devices. If the

                                  18     host user or guest user(s) made a change to the queue of videos (e.g., removing the last video),

                                  19     her mobile device would send an update message to the cloud server, which would store the

                                  20     updated list of identifiers in the party queue. The cloud server would then send a message with

                                  21     the updated list of identifiers to the mobile devices of the host user and guest user(s), which

                                  22     was again stored locally. If playback was transferred to one or more of the host user’s screens,

                                  23     the queue of videos was stored on the screen(s) as well, and the message with the updated list

                                  24     of identifiers would also go to the screen(s) to be stored locally (Bhattacharjee Rpt. ¶¶ 176–77;

                                  25     Schmidt Rebuttal Rpt. ¶¶ 213–14).

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                                   1          To transfer playback to a screen in party mode, the host or guest user(s) would press a

                                   2     “Connect” button in the application and the cloud server would send a message to the screen

                                   3     identifying one or more videos for playback. For each video, that screen would send a

                                   4     corresponding identifier it had stored locally to another cloud server (called “Player Service”)

                                   5     to obtain a URL (called a “Bandaid URL”). That URL would enable the screen to retrieve the

                                   6     media content (audio and video content) corresponding to the identifier from yet another cloud

                                   7     server in Google’s Content Delivery Network (called “Bandaid”), which would then be played

                                   8     back (Bhattacharjee Rpt. ¶¶ 327–29, 340; Schmidt Rpt. ¶¶ 162–66; Schmidt Rebuttal Rpt.

                                   9     ¶¶ 174–76). Sonos’s expert provides a helpful diagram of this process, which is based on a

                                  10     Google diagram produced in discovery:

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                                  17
                                                                        Transferring Playback in YTR2 Party Mode.
                                  18

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                                  20     (Schmidt Rpt. ¶ 166).
                                  21          As for the ’998 patent, the prior order stated, in pertinent part:
                                  22                  The ’998 patent is prior art. It was filed on March 7, 2011, and
                                                      claims priority to an earlier provision[al] application filed in
                                  23                  November 2010. The patent’s inventors were involved with the
                                                      development of the YouTube Remote system, and the patent
                                  24                  relates to controlling playback on a playback device through a
                                                      control device . . . .
                                  25
                                                      [T]he patent disclosed that a “user interface” of a “remote control”
                                  26                  (e.g., a smart phone) can display “previously paired controlled
                                                      devices” (e.g., a television) so that a user may select and control
                                  27                  “one or more paired controlled devices.”
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                                   1     Google, 2022 WL 3046752, at *9. This user interface was called the “device-picker,” which

                                   2     was added to source code for the YouTube Remote application dated December 1, 2011 —

                                   3     again, before the priority date of the ’033 patent, December 30, 2011. The device-picker was

                                   4     released with YouTube Remote version 3 (“YTR3”) in January 2012.

                                   5          This order will first consider Google’s arguments as to the “remote playback queue”

                                   6     limitations allegedly disclosed by the YTR2 system (1.4, 1.7, 1.8, and 1.9), and then circle

                                   7     back to the “selection of playback devices” limitations allegedly taught by the ’998 patent (1.5

                                   8     and 1.6).

                                   9                  D.      LIMITATION 1.4.
                                  10          Limitation 1.4 requires a “computing device” that is “configured for playback of a remote

                                  11     playback queue provided by a cloud-based computing system associated with a cloud-based

                                  12     media service” (’033 patent 17:40–42). The “computing device” corresponds to the control
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                                  13     device discussed above, which is itself configured for playback at this stage. In other words,

                                  14     the playback captured by limitation 1.4 is taking place on a control device (e.g., a phone) and

                                  15     has not yet been transferred to a playback device (e.g., a television).

                                  16          According to Google, YTR2 party mode disclosed limitation 1.4. Because the party

                                  17     queue was a playback queue, and the cloud server provided the party queue to the

                                  18     geographically distant mobile devices of the host and guest user(s), those mobile devices were

                                  19     ostensibly configured for playback of a remote playback queue provided by a cloud-based

                                  20     computing system (Google Br. 6–7). According to Sonos, however, party mode was “simply a

                                  21     mode that allow[ed] multiple YouTube accounts to add songs to the same queue” and that

                                  22     “d[id] not change anything about the location of the playback queue” (Sonos Opp. 3). Sonos

                                  23     emphasizes that in party mode and non-party mode alike, the mobile devices of host and guest

                                  24     user(s) and the host user’s screen(s) all had and relied on their own local playback queues

                                  25     (Sonos Opp. 7).

                                  26          True, the mobile devices of host and guest user(s) and the host user’s screen(s) all had

                                  27     and relied on their own local playback queues. Google expressly acknowledges that the party

                                  28     queue was “copied to a device for the purposes of facilitating local playback” and that it did
                                                                                         12
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                                   1     not “eliminate[] the playback queue on the playback device in favor of a cloud queue” until

                                   2     2014 (Dkt. No. 561 at 1; Google Reply Br. 1). In other words, it is undisputed that the mobile

                                   3     devices of the host and guest user(s) stored the list of identifiers for the queue of videos

                                   4     selected for playback locally. But it is also undisputed that the cloud server stored the list of

                                   5     identifiers for the queue of videos selected for playback in the party queue (Google Br. 3

                                   6     (citing Bhattacharjee Rpt. ¶¶ 171–73); Sonos Opp. 5 (citing Schmidt Rebuttal Rpt. ¶ 207); see

                                   7     also Schmidt Rebuttal Rpt. ¶ 204). That list was a playback queue (“a list of multimedia

                                   8     content selected for playback”) and that server was remote (“not local to the claimed

                                   9     computing device or playback device”). Putting it all together, the party queue was a list of

                                  10     multimedia content selected for playback that was not local to the claimed computing or

                                  11     playback device. The party queue was a remote playback queue. And, when playback had not

                                  12     yet been transferred to a screen, the mobile device in YTR2 party mode was configured for
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                                  13     playback of a remote playback queue.

                                  14          That mobile devices and screens also had local playback queues did not mean that the

                                  15     party queue was not a remote playback queue. The reader will recall that Google did not rule

                                  16     out the possibility that the YouTube Remote prior art could have employed both, which YTR2

                                  17     party mode did. What we have here is the situation described by the Google expert in which

                                  18     “the system might store the playback queue both at the local playback device and remotely”

                                  19     (Bhattacharjee Showdown Rebuttal Rpt. ¶ 320). Indeed, the YouTube Remote prior art was

                                  20     strikingly similar to the embodiment that the prior order distinguished (’033 patent 16:16–27).

                                  21     This “third party application not only t[old] the local playback system what to play, but also

                                  22     maintain[ed] two-way communication with the local playback . . . system” (id. at 16:18–21).

                                  23     And “[t]wo way communication help[ed] enable features such as keeping a local playback

                                  24     queue synchronized with a queue that the user [was] editing/managing in the third party

                                  25     application” (id. at 16:21–24).

                                  26          In YTR1 and YTR2 non-party mode, the queue that the user was editing/managing to

                                  27     which the local playback queue was synchronized was the local playback queue on the user’s

                                  28     mobile device. There were no other users, and there was no queue saved on a cloud server. In
                                                                                         13
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                                   1     YTR2 party mode, however, the queue that the user was editing/managing to which the local

                                   2     playback queue was synchronized was the remote playback queue. Only this queue, the party

                                   3     queue saved on the cloud server, reflected changes made by both this user and other user(s) in

                                   4     the party. “In short, the cloud queue r[an] the show” in YTR2 party mode as well. Google,

                                   5     2022 WL 3046752, at *6.

                                   6          Because YTR2 party mode disclosed a computing device that was configured for

                                   7     playback of a remote playback queue provided by a cloud-based computing system, the YTR2

                                   8     system satisfied limitation 1.4.

                                   9                  E.      LIMITATION 1.7.
                                  10          The parties take up limitation 1.7 in parts, so this order will do the same.

                                  11          Limitation 1.7(a) requires that the computing device, “based on receiving [] user input,”

                                  12     “transmit[] an instruction for the at least one given playback device to take over responsibility
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                                  13     for playback of the remote playback queue from the computing device” (’033 patent 17:53–

                                  14     56). Both sides agree that a mobile device running YTR2 party mode (computing device)

                                  15     transmitted a message (instruction) for a screen (playback device) to take over responsibility

                                  16     for playback once a user pressed (user input) the Connect button (Google Reply Br. 5; Sonos

                                  17     Opp. 9; see also Bhattacharjee Rpt. ¶ 332; Schmidt Rpt. ¶ 164). According to Google, because

                                  18     this computing device was configured for playback of a remote playback queue, this

                                  19     instruction was for taking over playback responsibility of a remote playback queue (Google

                                  20     Reply Br. 5). According to Sonos, however, the instruction was for taking over playback of a

                                  21     local playback queue, not a remote playback queue, because the playback devices were only

                                  22     configured for playback of a local playback queue (Sonos Opp. 8). This order has already

                                  23     explained why that is not the case. As such, it is apparent that a computing device running

                                  24     YTR2 party mode transmitted an instruction for a playback device to take over playback

                                  25     responsibility of a remote playback queue from a computing device.

                                  26          Limitation 1.7(b) provides that the instruction to take over responsibility for playback

                                  27     configures the playback device to “(i) communicate with the cloud-based computing system in

                                  28     order to obtain data identifying a next one or more media items that are in the remote playback
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                                   1     queue, (ii) use the obtained data to retrieve at least one media item in the remote playback

                                   2     queue from the cloud-based media service; and (iii) play back the retrieved at least one media

                                   3     item (’033 patent 17:58–65). The specification teaches that the data identifying a next one or

                                   4     more media items can take different forms, including “song identifier” or “URL” (id. at 12:37,

                                   5     56). What’s more, it specifically teaches that a URL “can be passed to a playback device to

                                   6     fetch content from a cloud,” and “[s]ongs and/or other multi-media can be retrieved from the

                                   7     Internet rather than a local device” (id. at 12:52–53, 57–58).

                                   8          Recall once playback was transferred to a screen in YTR2 party mode, that screen would

                                   9     receive a message from the cloud server identifying one or more videos for playback. For each

                                  10     video, the screen would send a corresponding identifier it had stored locally to another cloud

                                  11     server (Player Service) to obtain a URL (Bandaid URL), which would enable it to retrieve the

                                  12     media content (audio and video content) corresponding to the identifier from yet another cloud
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                                  13     server in Google’s Content Delivery Network (Bandaid) for playback. YTR2 party mode

                                  14     disclosed limitation 7(b) because once the screen received an instruction to take over

                                  15     responsibility for playback, it sent a message to the Player Service to obtain a Bandaid URL

                                  16     that was used to retrieve media content from the Bandaid server and play back that retrieved

                                  17     content. As such, the playback device running YTR2 party mode was configured to

                                  18     “communicate with [the] cloud-based computing system” (Player Service) to “obtain data

                                  19     identifying a next one or more media items” (Bandaid URLs) and “use the obtained data to

                                  20     retrieve at least one media item in the remote playback queue” (audio and video content) to

                                  21     “playback the retrieved at least one media item,” as required (Google Br. 11).

                                  22          Sonos disagrees that YTR2 party mode disclosed this limitation for three reasons (Sonos

                                  23     Opp. 8–10). None is availing.

                                  24          First, Sonos argues that the identifiers (videoIds), not the URLs (Bandaid URLs),

                                  25     constituted “data identifying a next one or more media items that are in the remote playback

                                  26     queue” (Sonos Opp. 8) (emphasis in original). According to Sonos, because those identifiers

                                  27     were stored locally on the screen in a local playback queue in YTR2 party mode, they were not

                                  28     “in the remote playback queue,” as required by limitation 1.7(b). Although Sonos suggests
                                                                                        15
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                                   1     that “the parties dispute whether ‘data identifying a next one or more media items’ has to be a

                                   2     URL or could be another type of identifier,” both sides acknowledge that such data could be

                                   3     identifiers or URLs, consistent with the language in the specification (Sonos Opp. 8; Google

                                   4     Reply Br. 6 n.5; see ’033 patent 12:37, 56). And, as discussed, devices configured for

                                   5     playback in YTR2 party mode had identifiers and URLs. Irrespective of whether the

                                   6     identifiers constituted “data identifying a next one or more media items,” the URLs clearly did.

                                   7          The playback device in limitation 1.7(b) “obtain[s] data identifying a next one or more

                                   8     media items that are in the remote playback queue” as well as “use[s] the obtained data to

                                   9     retrieve at least one media item” and “play back the retrieved at least one media item.” It is

                                  10     undisputed that screens used URLs to retrieve and play back media content in YTR2 party

                                  11     mode (Schmidt Rpt. ¶ 164 (recognizing playback device “use[d] the one or more [Bandaid]

                                  12     URLs to retrieve the media item from one or more ‘Bandaid’ servers . . . and then render[ed]
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                                  13     [i.e., played back] the retrieved media item”); see also Schmidt Dep. 147:6–148:10;

                                  14     Bhattacharjee Rpt. ¶¶ 328–29).

                                  15          Second, Sonos argues that limitation 1.7(b) requires that the “data identify[] a next one or

                                  16     more media items,” whereas “[t]he Bandaid URLs Google points to only identif[ied] the

                                  17     current media item for playback, not the next media item” (Sonos Opp. 9 (citing Schmidt

                                  18     Rebuttal Rpt. ¶¶ 176, 212)) (emphasis in original). In other words, “Google’s argument thus

                                  19     equates the claim term ‘next’ with ‘current’” when the patent specification distinguishes those

                                  20     terms elsewhere (Sonos Opp. 9 (citing ’033 patent 16:49–67)).

                                  21          Not so. The parties do not dispute that the screen in YTR2 party mode carried out the

                                  22     process of: (i) receiving a message from the (MDx) cloud server identifying a video for

                                  23     playback; (ii) sending a corresponding (videoId) identifier to another (Player Service) cloud

                                  24     server to receive a (Bandaid) URL; (iii) sending that (Bandaid) URL to yet another (Bandaid)

                                  25     cloud server to retrieve media (audio and video) content; (iv) and playing back that media

                                  26     content (Google Br. 11; Sonos Opp. 9). Nor do they dispute that this happened for each video

                                  27     in the party queue (ibid.; see also Schmidt Rpt. ¶ 164; Bhattacharjee Rpt. ¶ 328). Thus, the

                                  28     screen clearly “communicate[d] with the cloud-based computing system in order to obtain data
                                                                                        16
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                                   1     identifying a next one or more media items that are in the remote playback queue.” That there

                                   2     might have only been one video in that queue is accounted for when the limitation describes

                                   3     “us[ing] the obtained data to retrieve at least one media item” and “play[ing] back the retrieved

                                   4     at least one media item.” Read in context, “next” must include — but is not limited to —

                                   5     “current” here.

                                   6           Third, Sonos argues that in YTR2 party mode, the screen did not “obtain data identifying

                                   7     a next one or more items that are in the remote playback queue” because it played items from

                                   8     its local playback queue (Sonos Opp. 9–10) (emphasis in original). After all, according to

                                   9     Sonos, “[s]creens in YTR[2] party mode d[id] not ‘ask[] the MDx [cloud] server for which

                                  10     video to play next when the current [video] ended’” and they instead “simply play[ed] the next

                                  11     video in their local playback queue” (ibid.).

                                  12           But, as Google notes, limitation 1.7(b) does not require the playback device to “fetch
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                                  13     ‘data identifying . . . media items’ directly ‘from [the] remote playback queue’” (Google

                                  14     Reply Br. 7 (quoting Sonos Opp. 9–10)). Rather, it requires that the playback device “obtain[]

                                  15     data identifying a next one or more media items that are in the remote playback queue,” and

                                  16     “use[] the obtained data to retrieve” and “play back the retrieved at least one media item.”

                                  17     That is what the screen in YTR2 party mode did. It received a message from the (MDx) cloud

                                  18     server identifying a video for playback before it sent the corresponding identifier to the Player

                                  19     Service and the corresponding URL to the Bandaid server. In sum, YTR2 party mode tracked

                                  20     limitation 1.7.

                                  21                  F.      LIMITATIONS 1.8–1.9.
                                  22           Limitation 1.8 requires that the computing device “detect[] an indication that playback

                                  23     responsibility for the remote playback queue has been successfully transferred from the

                                  24     computing device to the at least one given playback device” (’033 patent 17:66–18:2).

                                  25     Limitation 1.9 requires that, after detecting this indication, the computing device “control the at

                                  26     least one given playback device’s playback of the remote playback queue” and is itself “no

                                  27     longer configured for playback of the remote playback queue” (id. at 18:3–10). According to

                                  28     Google, the YTR2 system disclosed these limitations because the application displayed a
                                                                                         17
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                                   1       “Connected to [] screen” dialogue box once a host or guest user transferred playback to a

                                   2       screen, as demonstrated in the video from Google’s invalidity contentions showing how the

                                   3       YouTube Remote application worked (Google Br. 13).2 Sonos does not address these

                                   4       limitations in its opposition and did not address them at the hearing, so this order incorporates

                                   5       its general argument that the YTR2 system used a local playback queue, not a remote playback

                                   6       queue, which it already rejected.

                                   7            This order observes that the video discussed by Google was uploaded on November 14,

                                   8       2010 — shortly after the release of YTR1 on November 9, 2010, and well-before the release of

                                   9       YTR2.03 on July 29, 2011. Even so, there is no evidence on this record that this dialogue box

                                  10       was removed or changed in YTR2. To the contrary, Google’s arguments at the patent

                                  11       showdown appear to have relied on both YTR1 and YTR2 systems, just without discussing

                                  12       party mode (Bhattacharjee Showdown Rpt. ¶¶ 169–71). This order therefore agrees with
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                                  13       Google that the dialogue box demonstrated that the mobile device in the YTR2 system detected

                                  14       an indication playback responsibility had been successfully transferred, that it was configured

                                  15       to control a screen’s playback of a remote playback queue, and that it was itself no longer

                                  16       configured for playback of a remote playback queue. As such, the YTR2 system satisfied

                                  17       limitations 1.8 and 1.9.

                                  18                    G.       LIMITATIONS 1.5–1.6.
                                  19            Having found that the YTR2 system disclosed all of the “remote playback queue”

                                  20       limitations, this order turns to the “selection of playback devices” limitations allegedly taught

                                  21       by the ’998 patent.

                                  22            Limitation 1.5 requires that the computing device “display[] a representation of one or

                                  23       more playback devices in a media playback system” available to accept playback responsibility

                                  24       for the remote playback queue (’033 patent 17:43–48). Limitation 1.6 requires that the

                                  25       computing device “receiv[e] user input indicating a selection of at least one given playback

                                  26       device from the one or more playback devices” (id. at 17:49–52). As Google observes, the

                                  27

                                  28   2
                                           Citing https://www.youtube.com/watch?v=EGdsOslqG2s (last visited April 11, 2023).
                                                                                    18
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                                   1     prior order addressed a very similar limitation in claim 13 of the ’615 patent, which required

                                   2     the computing device to “display[] . . . playback devices connected to the local area network”

                                   3     and receive user input indicating “a selection of [a] particular playback device from the

                                   4     identified playback devices” (Google Br. 14). Google, 2022 WL 3046752, at *9–10 (citing

                                   5     ’998 patent 10:62–11:6). It found the YouTube Remote prior art’s Connect button did not

                                   6     allow a user to select a subset of available playback devices, but the ’998 patent disclosed the

                                   7     device-picker and taught the selection of playback devices, as contemplated by the ’615 patent.

                                   8     Absent countervailing evidence, that Google produced YouTube Remote application source

                                   9     code incorporating the device-picker (December 1, 2011,) mere months after Sonos’s claimed

                                  10     priority date for the ’615 patent (July 15, 2011,) and released the functionality to the public

                                  11     with YTR3 (January 2012) clearly and convincingly demonstrated that a person of ordinary

                                  12     skill in the art would have been motivated to incorporate the teachings of the ’998 patent. Her
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                                  13     reasonable expectation of success was also self-evident. Accordingly, the prior order

                                  14     concluded that it would have been obvious to combine the prior art references and invalidated

                                  15     the asserted claim of the ’615 patent.

                                  16          Sonos raises no new evidence that demands a different outcome here. It did not address

                                  17     these limitations in its opposition, but it included language from its expert’s rebuttal report on

                                  18     this point in its slides for the hearing. The only new argument is that “there would be no need

                                  19     to use a device-picker to select a particular [screen] for playback” in YTR2 party mode “when

                                  20     the desire [was] to have multiple [screens] for playback” (Schmidt Rebuttal Rpt. ¶ 351). It

                                  21     does not persuade. Even in party mode, a user might have considered it desirable to play back

                                  22     media on some screens (e.g., in the living room and kitchen) and not others (e.g., in the den).

                                  23     No evidence on this record suggests otherwise.

                                  24          The ’998 patent taught the selection of playback devices, as contemplated by limitations

                                  25     1.5 and 1.6. That Google produced YouTube Remote application source code achieving the

                                  26     proposed modification roughly one month before Sonos’s claimed priority date for the ’033

                                  27     patent (December 30, 2011,) clearly and convincingly demonstrates that a person of ordinary

                                  28     skill in art would have been motivated to incorporate the teachings of the ’998 patent and
                                                                                         19
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                                   1     would have had a reasonable expectation of success in doing so. Indeed, as Google observes,

                                   2     motivation and reasonable expectation of success are even stronger for the ’033 patent, with

                                   3     Sonos having claimed an earlier priority date (July 15, 2011,) for the ’615 patent (Google

                                   4     Br. 14 n.3).

                                   5           Accordingly, this order finds the YTR2 system, combined with the ’998 patent, rendered

                                   6     claim 1 of the ’033 patent obvious.

                                   7                    H.    REMAINING INDEPENDENT AND DEPENDENT CLAIMS.
                                   8           Having found claim 1 invalid as obvious, this order considers the remaining asserted

                                   9     claims of the ’033 patent. Because claim 12 of the ’033 patent is nearly identical to claim 1,

                                  10     just directed to a computer-readable medium instead of a computing device, this order finds

                                  11     that independent claim obvious over the YTR2 system and the ’998 patent as well. The same

                                  12     logic applies to dependent claims 2, 9, 11, 13, and 16, for which Sonos simply incorporates its
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                                  13     validity arguments for the independent claims (Bhattacharjee Rpt. ¶¶ 338–61).

                                  14           As Google observes, the only dependent claim for which Sonos raises additional

                                  15     argument is claim 4, though this argument was not briefed by Sonos in its opposition (Google

                                  16     Br. 14). Claim 4 of the ’033 patent recites that the representation of one or more playback

                                  17     devices in limitation 1.5 is for a “group of playback devices . . . that are to be configured for

                                  18     synchronous playback” (’033 patent 18:23–32). But this order agrees with Google’s expert

                                  19     that “[b]ecause the YTR system already disclosed the ability to detect, display and transfer

                                  20     playback to multiple devices, allowing multiple devices to be represented by a single icon

                                  21     (rather than two separate icons) would have been an obvious design choice requiring only

                                  22     minor modification to the user interface display” based on the device-picker disclosed in the

                                  23     ’998 patent and absent evidence to the contrary (Bhattacharjee Rpt. ¶ 646).

                                  24           In sum, this order concludes that YTR2 party mode disclosed a remote playback queue,

                                  25     and it would have been obvious to combine the YTR2 system and the ’998 patent to achieve

                                  26     the claimed invention. Google’s motion as to the invalidity of the asserted claims of the ’033

                                  27     patent is GRANTED.

                                  28
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                                   1          2.      GOOGLE’S MOTION: INVALIDITY OF THE ’885 AND ’966
                                                      PATENTS.
                                   2

                                   3          Now we turn from casting to “zone scene management” and the ’885 and ’966 patents.

                                   4     Once more, our analysis starts with our analysis of the ’885 patent at the patent showdown.

                                   5     Google LLC v. Sonos, Inc., 2022 WL 2870527 (N.D. Cal. July 21, 2022). The ’885 and ’966

                                   6     patents have identical specifications. Both are directed toward a “method and apparatus for

                                   7     controlling or manipulating a plurality of multimedia players in a multi-zone system” (’885

                                   8     and ’966 patents 1:32–34). The asserted claims teach a user to customize and save multiple

                                   9     groups of smart speakers or other players, each according to a “theme or scene,” and then

                                  10     “activate” a customized group, called a “zone scene,” on demand (id. at 2:46–51).

                                  11          Once more, this order refers the reader to the prior order for an in-depth introduction to

                                  12     the underlying technology and the accused products. By way of review, in a multi-zone
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                                  13     system, a “player” is a speaker, television, or similar device that can play content. The patents

                                  14     refer to the player’s location, such as a bedroom, as a “zone,” and the player therein as a “zone

                                  15     player” (see, e.g., id. at 2:36–41; 3:13–23). According to the specifications, prior to 2006, it

                                  16     was difficult for users to dynamically control speaker groups. Audio sources were “hard-

                                  17     wired” or “controlled by a pre-configured and pre-programmed controller,” which ostensibly

                                  18     made it cumbersome to “dynamically manag[e] the ad hoc creation and deletion of groups,”

                                  19     particularly when desired groups overlapped (id. at 1:62–2:2:25). Put another way, someone

                                  20     who enjoyed “listen[ing] to broadcast news from his/her favorite radio station in a bedroom, a

                                  21     bathroom, and a den while preparing to go to work in the morning” but also preferred to “listen

                                  22     in the den and the living room to music . . . in the evening” would not have been able to easily

                                  23     configure a traditional audio system to accommodate those preferences on account of then-

                                  24     existing technological and physical hurdles (ibid.).

                                  25          The ’885 and ’966 patents ostensibly solved this problem by providing a “mechanism” to

                                  26     “allow a user to group” multimedia players “according to a theme or scene, where each of the

                                  27     players is located in a zone” (id. at 2:36–41). Then, “[w]hen the scene [was] activated, the

                                  28     players in the scene react[ed] in a synchronized manner” (id. at 2:41–42). This allowed a user
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                                   1       to customize and save multiple groups of speakers or other players, each according to a “theme

                                   2       or scene,” and then later “activate” a customized group, called a “zone scene,” on demand (id.

                                   3       at 2:46–51). Thus, the person who enjoyed listening to broadcast news in the morning could

                                   4       form a “zone scene” called “Morning” that consisted of speakers in the bedroom, bathroom,

                                   5       and den, and activate that group on demand using an application on the controller device (e.g.,

                                   6       a phone). And, that same person, who also enjoyed listening to music in the evening, could

                                   7       form and activate on demand another “zone scene” called “Evening” that consisted of speakers

                                   8       in the den and living room.

                                   9             The prior order ruled that Google infringed claim 1 of the ’885 patent. Specifically,

                                  10       assuming arguendo that Google’s definition of zone scene as “a previously saved grouping of

                                  11       zone players according to a common theme” was correct, that order found Google’s accused

                                  12       products infringed claim 1 because a user’s ability to name speaker groups meant a user could
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                                  13       group speakers according to a common theme. Google, 2022 WL 2870527, at *4. It also

                                  14       rejected two invalidity arguments: that claim 1 of the ’885 patent was directed toward

                                  15       unpatentable subject matter, and that the ’885 patent lacked written description support. Id.

                                  16       at *6–9. This order evaluates a different invalidity argument: that the asserted claim of the

                                  17       ’885 patent (and, by extension, the asserted claims of the ’966 patent,) are invalid as obvious

                                  18       over prior art.3

                                  19                     A.     OVERVIEW OF ASSERTED CLAIMS.
                                  20             Sonos asserts claim 1 of the ’885 patent and claims 1–2, 4, 6, 8–10, 12, 14, and 16 of the

                                  21       ’966 patent. Claim 1 of the ’885 patent and claims 1 and 9 of the ’966 patent are independent

                                  22       claims, whereas claims 2, 4, 6, 8, 10, 12, 14, and 16 of the ’966 patent are dependent claims.

                                  23

                                  24   3
                                         After rejecting Google’s invalidity arguments, the undersigned ordered Google to show cause as
                                  25   to why summary judgment in favor of Sonos on validity should not be entered (Dkt. No. 339).
                                       Another order declined to consider the new invalidity argument Google raised in response and
                                  26   entered summary judgment in favor of Sonos on validity of claim 1 of the ’885 patent (Dkt. No.
                                       382). Google then moved for reconsideration based on Mikkelsen Graphic Engineering, Inc. v.
                                  27   Zund America, Inc., 541 F. App’x 964 (Fed. Cir. 2013). Upon reconsideration, a subsequent order
                                       agreed that Mikkelsen “caution[ed] against entering summary judgment against non-movants in
                                  28   like circumstances” and withdrew the ruling on validity (Dkt. No. 539). Google now raises that
                                       new argument as a movant.
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                                   1     Note the ’966 patent is drafted from the perspective of the controller device that controls zone

                                   2     players and makes groups (e.g., a phone), whereas the ’885 patent is drafted from the

                                   3     perspective of a zone player itself (e.g., a speaker). Sonos filed the applications that led to the

                                   4     ’885 and ’966 patents on April 12, 2019, but the applications claim priority through a long

                                   5     chain of continuation applications dating back to a provisional application filed on September

                                   6     12, 2006. Sonos claims an earlier conception date of December 2005.

                                   7          Like the briefing and the parties at the hearing, this order focuses on claim 1 of the ’885

                                   8     patent. Using Google’s paragraph numbering, claim 1 of the ’885 patent recites:

                                   9                  [1.0] A first zone player comprising:
                                  10                      [1.1] a network interface that is configured to communicatively couple
                                                          the first zone player to at least one data network;
                                  11
                                                          [1.2] one or more processors;
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                                                          [1.3] a non-transitory computer-readable medium; and
                                  13
                                                          [1.4] program instructions stored on the non-transitory computer-
                                  14                      readable medium that, when executed by the one or more processors,
                                                          cause the first zone player to perform functions comprising:
                                  15
                                                              [1.5] while operating in a standalone mode in which the first zone
                                  16                          player is configured to play back media individually in a
                                                              networked media playback system comprising the first zone player
                                  17                          and at least two other zone players:
                                  18                                  [1.6] (i) receiving, from a network device over a data
                                                                      network, a first indication that the first zone player has
                                  19                                  been added to a first zone scene comprising a first
                                                                      predefined grouping of zone players including at least the
                                  20                                  first zone player and a second zone player that are to be
                                                                      configured for synchronous playback of media when the
                                  21                                  first zone scene is invoked; and
                                  22                                  [1.7] (ii) receiving, from the network device over the data
                                                                      network, a second indication that the first zone player has
                                  23                                  been added to a second zone scene comprising a second
                                                                      predefined grouping of zone players including at least the
                                  24                                  first zone player and a third zone player that are to be
                                                                      configured for synchronous playback of media
                                  25                                  when the second zone scene is invoked, wherein the second
                                                                      zone player is different than the third zone player;
                                  26
                                                          [1.8] after receiving the first and second indications, continuing to
                                  27                      operate in the standalone mode until a given one of the first and
                                                          second zone scenes has been selected for invocation;
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                                                           [1.9] after the given one of the first and second zone scenes has been
                                   1                       selected for invocation, receiving, from the network device over the
                                                           data network, an instruction to operate in accordance with a given one
                                   2                       of the first and second zone scenes respectively comprising a given
                                                           one of the first and second predefined groupings of zone players; and
                                   3
                                                           [1.10] based on the instruction, transitioning from operating in the
                                   4                       standalone mode to operating in accordance with the given one of the
                                                           first and second predefined groupings of zone players such that the
                                   5                       first zone player is configured to coordinate with at least one
                                                           other zone player in the given one of the first and second predefined
                                   6                       groupings of zone players over a data network in order to output media
                                                           in synchrony with output of media by the at least one other zone player
                                   7                       in the given one of the first and second predefined groupings of zone
                                                           players.
                                   8
                                   9     (’885 patent 11:37–12:23). “Zone scene,” in play here, is italicized above. Google asserts that

                                  10     claim 1 of the ’885 patent and all asserted claims of the ’966 patent are invalid as obvious over

                                  11     two prior art references: Sonos’s prior art speaker system from 2005 and “modifications

                                  12     suggested to Sonos by users of that system” in customer posts on Sonos online forums (Google
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                                  13     Br. 15). Sonos disagrees and contends that the prior art did not disclose zone scene technology

                                  14     as required by limitations 1.5–1.10 and the corresponding limitations of the ’966 patent (Sonos

                                  15     Opp. 10–19; Dkt. No. 468-7 at 41–43, 85–88).

                                  16                  B.      OVERVIEW OF PRIOR ART.
                                  17          As for prior art, the Sonos 2005 system was the initial version of Sonos’s wireless multi-

                                  18     zone system. It launched no later than January 2005, well before both Sonos’s claimed

                                  19     conception date of December 2005 and the provisional filing date of September 12, 2006 (see

                                  20     Almeroth Rebuttal Rpt. ¶ 265). The parties agree that the Sonos 2005 system disclosed

                                  21     “smart” speakers that could be grouped for synchronous playback, and they generally agree on

                                  22     how that grouping worked (Google Br. 16 (citing Almeroth Rebuttal Rpt. ¶ 266); Sonos Opp.

                                  23     11 (citing Millington Decl. ¶ 5)). In essence, speakers in the Sonos 2005 system could be

                                  24     added to a temporary group individually, and that temporary group would be activated for

                                  25     playback immediately. Once a user no longer wished to use that temporary group for

                                  26     playback, it ceased to exist. The only saved group was (yet another) “party mode,” which

                                  27     allowed a user to immediately commence synchronous playback of a group of all speakers in

                                  28     her system (Schonfeld Rpt. ¶¶ 107, 114; Millington Decl. ¶ 7).
                                                                                        24
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                                   1          Although the parties dispute the extent to which the Sonos 2005 system disclosed the

                                   2     zone scene requirements of the asserted limitations, they generally agree that this system did

                                   3     not allow for speaker groups that could be named, saved, and later activated on-demand

                                   4     (Google Br. 15–16 (citing Schonfeld Reply Br. 1 ¶ 18; Dkt. No. 484-8 (Lambourn Emails));

                                   5     Sonos Opp. 11–12 (citing Lambourn Decl. ¶¶ 8–11)).

                                   6          This is where the forum posts come in. According to Google, “[t]o the extent not

                                   7     disclosed in the Sonos 2005 prior art system itself, customer comments on the Sonos forums

                                   8     disclose[d] the ‘zone scene’ elements of claim 1 of the ’885 patent” (Google Br. 18). It

                                   9     focuses on two illustrative posts from two threads on those forums:

                                  10                  In the first [thread], “Virtual Zones and Zone Grouping,”
                                                      “theboyg” stated that the way the Sonos 2005 system permitted
                                  11                  users to create groups — by linking and unlinking speakers in real
                                                      time — was “cumbersome.” He suggested adding to the prior art
                                  12                  system “a virtual zone – ie a zone called ‘Downstairs’ that would
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                                                      allow a user to ‘group all [his] downstairs zones’ and avoid the
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                                  13                  necessity to ‘keep manually linking and unlinking multiple zones
                                                      everytime’” . . . .
                                  14
                                                      The second relevant Sonos forum thread is titled “Macro/Presets.”
                                  15                  In that thread, “JeffT” suggested that the Sonos 2005 system “save
                                                      Zone links [i.e., speakers linked into a group] as favorites” so that,
                                  16                  for example, he could set up “2 party modes, Summer and Winter,”
                                                      where the “Summer mode” would include “the deck speakers and
                                  17                  the Winter mode would not.”
                                  18     (Google Br. 16–17). Again, the forum posts of “theboyg” and “JeffT” were created and

                                  19     publicly available prior to both Sonos’s claimed conception date, December 2005, and the

                                  20     provisional filing date, September 12, 2006. For reference, this order reproduces the posts

                                  21     below:

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                                                                                Forum Post of "theboyg."
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                                  18                                             Forum Post of “JeffT.”

                                  19

                                  20     (Google Br. 16–17). Did the Sonos 2005 system and the forum posts together render obvious
                                  21     the “zone scene” limitations? This order finds that genuine disputes of material fact preclude
                                  22     summary judgment of invalidity for obviousness over these two references.
                                  23                  C.      LIMITATION 1.7.
                                  24          By way of example, consider limitation 1.7. It recites a “zone player” that “receiv[es] . . .
                                  25     an indication that [it] has been added to a second zone scene comprising a second predefined
                                  26     grouping of zone players” (’885 patent 11:59–67). Note this second zone scene is different
                                  27     than the first zone scene to which the zone player is added in limitation 1.6 because it does not
                                  28     include at least one zone player in that first zone scene (id. at 11:53–58, 61–67).
                                                                                          26
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                                   1          Clearly limitation 1.7 was not satisfied by the Sonos 2005 system. A speaker in that

                                   2     system could not be added to two different predefined groupings of zone players. Even

                                   3     assuming arguendo that the party mode grouping of all speakers was a zone scene, a speaker

                                   4     could not be added to a second zone scene because no other groupings could be predefined. In

                                   5     other words, the Sonos 2005 system did not provide for saving additional, overlapping groups.

                                   6          Google argues that the forum posts fill this gap. It emphasizes that “JeffT” expressly

                                   7     suggested adding functionality to include, inter alia, “2 party modes, Summer and Winter,”

                                   8     where the Summer mode “would include the deck speakers and the Winter mode would not”

                                   9     (Google. Br. 19 (citing Almeroth Rebuttal Rpt. ¶ 192)). Mapping the forum post onto the

                                  10     language of limitation 1.7, it discloses a “zone player” that is “added to a second zone scene

                                  11     [Winter mode] comprising a second predefined grouping of zone players” (that is different

                                  12     than the first zone scene because Summer mode does not include the deck speakers). Although
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                                  13     Sonos does not directly dispute that this forum post disclosed saving additional, overlapping

                                  14     groups, it takes issue with the fact that the forum post did not disclose the “indication,” the

                                  15     “claimed communications between the zone players and controllers necessary for setting up

                                  16     and invoking zone scenes,” among other specific terms in other specific limitations (Sonos

                                  17     Opp. 13–14). Yet such rigid adherence to the language of the claims is not required to show

                                  18     obviousness. Indeed, the Supreme Court has expressly cautioned against a “narrow conception

                                  19     of the obviousness inquiry” in favor of “an expansive and flexible approach.” KSR Int’l Co. v.

                                  20     Teleflex Inc., 550 U.S. 398, 402, 415 (2007).

                                  21          But Google is not out of the woods yet. After all, “[a] party seeking to invalidate a patent

                                  22     based on obviousness must demonstrate by clear and convincing evidence that a skilled artisan

                                  23     would have been motivated to combine the teachings of the prior art references to achieve the

                                  24     claimed invention, and that the skilled artisan would have had a reasonable expectation of

                                  25     success in doing so.” Procter & Gamble, 566 F.3d at 994. The Federal Circuit has recently

                                  26     emphasized the “clear distinction in [its] case law between a patent challenger’s burden to

                                  27     prove that a skilled artisan would have been motivated to combine prior art references and the

                                  28     additional requirement that the patent challenger also prove that the skilled artisan would have
                                                                                         27
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                                   1     had a reasonable expectation of successfully achieving the claimed invention from the

                                   2     combination.” Eli Lilly & Co. v. Teva Pharms. Int’l GmbH, 8 F.4th 1331, 1344 (Fed. Cir.

                                   3     2021). In other words, these are separate requirements. A finding that an alleged infringer has

                                   4     demonstrated a motivation to combine prior art references does not necessarily mean that the

                                   5     alleged infringer has also demonstrated a reasonable expectation of success in achieving the

                                   6     claimed invention by doing so. Ibid.

                                   7          According to Google, “[b]ecause the Sonos forum posts expressly discuss modifying the

                                   8     Sonos 2005 system, there is a clear motivation to combine the prior art system and the users’

                                   9     suggested modifications to that system” (Google Br. 18). As Sonos observes, however,

                                  10     Google makes an analytical leap here, assuming that the existence of forum posts expressing

                                  11     motivation to combine prior art references means that a person of ordinary skill in the art

                                  12     would have had motivation to combine prior art references (Sonos Opp. 15). Worse, Google
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                                  13     fails to address whether that person of ordinary skill in the art would have had a reasonable

                                  14     expectation of success in achieving the claimed invention. Indeed, it does not speak to

                                  15     reasonable expectation of success at all, even after Sonos pointed this out in its opposition

                                  16     (ibid.). Google has failed to meet its burden.

                                  17          Recall, Sonos filed its provisional patent application directed to zone scene technology

                                  18     on September 12, 2006, and claims an earlier conception date of December 2005. The Sonos

                                  19     2005 system was launched no later than January 2005 (Google Br. 16 (citing Almeroth

                                  20     Rebuttal Rpt. ¶ 265)). Users “theboyg” and “JeffT” weighed in later that year, on February 27,

                                  21     2005, and September 22, 2005, respectively (Google Br. 16–17 (citing Almeroth Rebuttal Rpt.

                                  22     ¶ 193)). So did Sonos engineer Robert Lambourn, inventor of the ’885 and ’966 patents and

                                  23     Sonos’s director of user experience design at the time. He sent an email to a colleague on

                                  24     April 11, 2005, suggesting two new approaches to grouping speakers, one of which “would

                                  25     allow a user with one click to put their Zones into predefined groups,” like “downstairs,”

                                  26     “upstairs,” and “morning” (Lambourn Emails at 1). Lambourn then “began to design and

                                  27     develop [the] new technology” (Lambourn Decl. ¶ 13). But Sonos did not file the application

                                  28     that led to the ’885 and ’966 patents until April 12, 2019, and it did not release the zone scenes
                                                                                          28
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                                   1     feature (as “room groups”) until 2020. What’s more, Sonos points to a dozen articles from the

                                   2     likes of CNN and Engadget praising the introduction of this feature upon release (Sonos Opp.

                                   3     19 (citing Almeroth Rebuttal Rpt. ¶¶ 1613–40)).

                                   4          The Federal Circuit has “consistently pronounced that all evidence pertaining to the

                                   5     objective indicia of nonobviousness must be considered before reaching an obviousness

                                   6     conclusion.” Plantronics, Inc. v. Aliph, Inc., 724 F.3d 1343, 1355 (Fed. Cir. 2013). And

                                   7     “[s]econdary considerations evidence can establish that an invention appearing to have been

                                   8     obvious in light of the prior art was not and may be the most probative and cogent evidence in

                                   9     the record.” Apple Inc. v. Int’l Trade Comm’n, 725 F.3d 1356, 1366 (Fed. Cir. 2013). Here, a

                                  10     reasonable jury could find that the gap in time and substantial praise demonstrate a person of

                                  11     ordinary skill in the art would not have had a reasonable expectation of success in achieving

                                  12     the claimed invention — even assuming that person would have been motivated to combine the
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                                  13     teachings of the Sonos 2005 system with those of “theboyg” and “JeffT.” Google will have to

                                  14     make its best case in front of a jury. A genuine dispute of material fact remains that precludes

                                  15     finding the asserted claim of the ’885 patent invalid.

                                  16          Google focuses its analysis on the ’885 patent but attaches a “comprehensive chart

                                  17     identifying how the prior art that renders obvious the asserted claim of the ’885 patent also

                                  18     renders obvious the asserted claims of the ’966 patent” (Google Br. 20). Because this order

                                  19     has not found that prior art renders obvious the asserted claim of the ’885 patent, it declines to

                                  20     reach the asserted claims of the ’966 patent (or the acceptability of this chart). Google’s

                                  21     motion as to the invalidity of the asserted claims of the ’885 and ’966 patents is DENIED.

                                  22          3.      GOOGLE’S MOTION: NO WILLFUL OR INDIRECT INFRINGEMENT.
                                  23          Next, this order considers willful and indirect infringement. Google moves for summary

                                  24     judgment of no willful or indirect infringement of the ’033, ’885, and ’966 patents. Because

                                  25     this order finds the asserted claims of the ’033 patent invalid, it only considers this motion as to

                                  26     the ’885 and ’966 patents. Google’s motion as to the ’033 patent is DENIED AS MOOT.

                                  27          According to Google, Sonos is no closer to providing evidence that Google had the

                                  28     required “knowledge of the patent,” “knowledge of infringement,” and “specific intent to
                                                                                         29
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                                   1     infringe at the time of the challenged conduct” than it was when an order dismissed Sonos’s

                                   2     claims for willful and indirect infringement last March (Google Br. 24). See Sonos, 591 F.

                                   3     Supp. 3d at 643. As Google recognizes, however, a subsequent order allowed Sonos amend its

                                   4     pleadings in light of the “special twist” in this case: Google had commenced its own

                                   5     declaratory judgment action before Sonos filed its affirmative infringement action (Google Br.

                                   6     24 (quoting Sonos, 591 F. Supp. 3d at 647)). Sonos argues that there remains a genuine

                                   7     dispute of material fact as to whether Google was at least willfully blind to its infringement.

                                   8          Upon review, this order agrees with Sonos with respect to the ’966 patent, which was

                                   9     asserted in Sonos’s original complaint. Knowledge of infringement and specific intent may be

                                  10     inferred from circumstantial evidence. Warsaw Orthopedic, Inc. v. NuVasive, Inc., 824 F.3d

                                  11     1344, 1347 (Fed. Cir. 2016) (citing Glob.-Tech Appliances, Inc. v. SEB S.A., 563 U.S. 754,

                                  12     770–71 (2011)). Google had enough notice of this patent to file its own complaint for
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                                  13     declaratory relief based on non-infringement and invalidity, and that would go a long way in

                                  14     supplying the knowledge and intent necessary for willful and indirect infringement — or so a

                                  15     jury could reasonably find based on the evidence in this record.

                                  16          Such reasoning, however, has no bearing on the ’885 patent, which issued roughly two

                                  17     months after all of this litigation began and was subsequently added. The undersigned

                                  18     previously allowed Sonos to amend its complaint to plead willful and indirect infringement of

                                  19     this patent as well based in large part on the “forty-day notice” between when Sonos allegedly

                                  20     provided Google a draft of its amended complaint during a meet-and-confer and when Sonos

                                  21     allegedly filed that amended complaint. Sonos, Inc. v. Google LLC, 2022 WL 2046828, at *3

                                  22     (N.D. Cal. June 7, 2022). As pointed out by Google in its present motion, however, Sonos

                                  23     actually filed that amended complaint with its motion to amend a mere three days after the

                                  24     meet-and-confer (Google Reply Br. 15 (citing No. C 21-07559 WHA, Dkt. No. 39-1)). With

                                  25     that in mind — and without a showing of countervailing support drawing upon the more

                                  26     complete record — it can no longer be said that Google had a meaningful opportunity to

                                  27     investigate allegations of infringement of the ’885 patent with the notice provided.

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                                   1          Because a genuine dispute of material fact remains as to whether Google committed

                                   2     willful or indirect infringement of the ’966 patent, Google’s motion as to willful and indirect

                                   3     infringement of the ’966 patent is DENIED. Because Google has shown that there are no

                                   4     genuine disputes of material fact as to whether it committed willful or indirect infringement of

                                   5     the ’885 patent, however, Google’s motion as to willful and indirect infringement of the ’885

                                   6     patent is GRANTED.

                                   7          4.      SONOS’S MOTION: BREACH OF CONTRACT AND CONVERSION.
                                   8          This order now turns to Sonos’s motion for summary judgment on Google’s claims of

                                   9     breach of contract and conversion, which derive from a 2013 collaboration agreement between

                                  10     the parties (SAC ¶¶ 85–97). According to Google, Sonos claimed as its own Google’s

                                  11     intellectual property rights arising from Google’s development work in integrating Google

                                  12     Play Music with Sonos speakers, even though their agreement gave Google intellectual
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                                  13     property rights “‘arising from or related’ to ‘any and all development work done by or on

                                  14     behalf of Google in creating the integrated offering’” (Google Opp. 1 (quoting Dkt. No. 479-4

                                  15     § 3.4)). According to Sonos, however, it invented the “direct control” technology underlying

                                  16     that development work in 2011 when it filed the application (specification only) that led to the

                                  17     ’033 patent, and Sonos never assigned intellectual property rights ostensibly arising from that

                                  18     application to Google in the 2013 agreement (Sonos Br. 1, 10–15). Sonos further argues that

                                  19     even if such development work was Google’s intellectual property under the 2013 agreement

                                  20     — and Sonos would have breached that agreement and committed conversion when it filed the

                                  21     claims for the ’033 patent in 2019 — the 2013 agreement had by then been superseded by

                                  22     another agreement such that there could be no breach (Sonos Br. 2, 15–16).

                                  23          Google offered to “withdraw [these] claims without prejudice” to “streamline the issues

                                  24     for summary judgment and trial” if this order decided the asserted claims of the ’033 patent are

                                  25     invalid, which it has (Dkt. No. 552). This order finds Google’s suggested resolution

                                  26     appropriate to keep trial focused on what has always been the fulcrum of this dispute: patent

                                  27     infringement and associated defenses. Sonos’s motion for summary judgment is therefore

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                                   1     DENIED AS MOOT, with the understanding that the breach of contract and conversion claims

                                   2     are out of the case.

                                   3          5.      GOOGLE’S MOTION: NON-INFRINGEMENT OF THE ’885 AND ’966
                                                      PATENTS BASED ON PURPORTED DESIGN-AROUND.
                                   4

                                   5          Lastly, this order circles back to Google’s motion. After the prior order granted summary

                                   6     judgment of infringement of claim 1 of the ’885 patent, Google apparently began changing its

                                   7     products and introducing a redesigned speaker that it disclosed to Sonos during discovery

                                   8     (Google Br. 20). Google contends that its redesigned speaker no longer infringes the asserted

                                   9     claim of the ’885 patent — and cannot infringe the asserted claims of the ’966 patent —

                                  10     because the redesigned speaker no longer operates in “standalone mode” after it is added to a

                                  11     new speaker group before that group is invoked (Google Br. 22). In brief, a speaker operating

                                  12     in standalone mode “is configured to playback media individually,” and Google has added a
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                                  13     new function to its source code (“StopCurrentApp()”) that requires a redesigned speaker to

                                  14     stop playback before being added to a group (’885 patent 11:47–48; Google Br. 22). Sonos

                                  15     counters that the redesigned speaker continues to operate in standalone mode even under such

                                  16     circumstances and thereby continues to infringe the asserted claims of the ’885 and ’966

                                  17     patents (Sonos Opp. 21, 23).

                                  18          This order will not allow Google to cut to the front of the line in order to vet its purported

                                  19     design-around when so many questions of fact (and law) involving the original accused

                                  20     products remain. Experience teaches that the evaluation of redesigned products is aided by

                                  21     analysis of the main issues at trial, which will include the original speakers’ infringement of

                                  22     the asserted claims of the ’966 patent. Google will have to wait its turn. The redesigned

                                  23     speaker will be vetted in due course. Google’s motion as to non-infringement of the asserted

                                  24     claims of the ’885 and ’966 patents based on its purported design-around is DEFERRED.

                                  25                                             CONCLUSION

                                  26           For the foregoing reasons, Google’s motion for summary judgment is GRANTED IN

                                  27     PART, DENIED IN PART, and DEFERRED IN PART. Specifically, Google’s motion as to

                                  28     invalidity of the ’033 patent and no willful or indirect infringement of the ’885 patent is
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                                   1     GRANTED. Google’s motion as to invalidity of the ’885 and ’966 patents, and no willful or

                                   2     indirect infringement of the ’966 patent is DENIED, whereas Google’s motion as to no willful

                                   3     or indirect infringement of the ’033 patent is DENIED AS MOOT. Google’s motion as to non-

                                   4     infringement of the ’885 and ’966 patents based on a purported design-around is DEFERRED.

                                   5     Meanwhile, Sonos’s motion for summary judgment as to Google’s breach of contract and

                                   6     conversion claims is DENIED AS MOOT.

                                   7           The issues now set for trial are: (i) Sonos’s claim for infringement (direct, willful, and

                                   8     indirect) of the asserted claims of the ’966 patent; (ii) Google’s counterclaim for non-

                                   9     infringement of the asserted claims of the ’966 patent; (iii) Google’s counterclaims for

                                  10     invalidity of the asserted claims of the ’885 and ’966 patents; (iv) damages for infringement of

                                  11     the asserted claim of the ’885 patent; and (v) any and all remaining issues in the entire case,

                                  12     except the undersigned will consider Google’s purported design-around in a bench trial after
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                                  13     the rest of the issues are tried before the jury.

                                  14           This order hereby CONSOLIDATES this action and the related affirmative infringement

                                  15     action (No. C 21-07559 WHA) for the purpose of taking them to trial. If the parties object,

                                  16     they are ordered to show cause by TUESDAY, APRIL 18, 2023, at 5:00 P.M.

                                  17           IT IS SO ORDERED.

                                  18

                                  19     Dated: April 13, 2023.

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                                                                                                      WILLIAM ALSUP
                                  21                                                                  UNITED STATES DISTRICT JUDGE
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